          Case 1:18-vv-01627-UNJ Document 72 Filed 03/07/22 Page 1 of 7




             In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                    Filed: February 8, 2022

* * * * * * * * * * * * * *                   *
WILLIAM LEDERER,                              *       UNPUBLISHED
                                              *
               Petitioner,                    *       No. 18-1627V
                                              *
v.                                            *       Special Master Dorsey
                                              *
SECRETARY OF HEALTH                           *       Decision Based on Stipulation;
AND HUMAN SERVICES,                           *       Tetanus-Diphtheria-Acellular
                                              *       Pertussis (“Tdap”) Vaccine;
               Respondent.                    *       Double Vision and Trochlear Nerve
                                              *       Palsy.
* * * * * * * * * * * * * *                   *

Sylvia Chin-Caplan, Law Office of Sylvia Chin-Caplan, LLC, Boston, MA, for petitioner.
Adriana Tietel, U.S. Department of Justice, Washington, DC, for respondent.

                             DECISION BASED ON STIPULATION1

        On October 22, 2018, William Lederer (“petitioner”) filed a petition in the National
Vaccine Injury Compensation Program.2 Petitioner alleged that as a result of a tetanus-
diphtheria-acellular pertussis (“Tdap”) vaccine on June 24, 2016, he developed double vision and
trochlear (forth) nerve palsy. Petition at 1 (ECF No. 1).

       On February 8, 2022, the parties filed a stipulation recommending an award of
compensation to petitioner. Stipulation (ECF No. 67). Respondent denies that the Tdap vaccine
caused petitioner to suffer from double vision or trochlear nerve palsy, and further denies that the

1
 Because this Decision contains a reasoned explanation for the action in this case, the
undersigned is required to post it on the United States Court of Federal Claims’ website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will
be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b),
petitioner has 14 days to identify and move to redact medical or other information, the disclosure
of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such
material from public access.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (“Vaccine Act” or “the Act”). All citations in this Decision
to individual sections of the Vaccine Act are to 42 U.S.C. § 300aa.


                                                  1
          Case 1:18-vv-01627-UNJ Document 72 Filed 03/07/22 Page 2 of 7




Tdap vaccine caused petitioner to suffer from any other injury or his current condition. Id. at ¶ 6.
Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $47,500.00 in the form of a check payable to petitioner.

       This amount represents compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a). Stipulation at ¶ 8.

      The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

       IT IS SO ORDERED.


                                              s/Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
Case 1:18-vv-01627-UNJ Document 72 Filed 03/07/22 Page 3 of 7
Case 1:18-vv-01627-UNJ Document 72 Filed 03/07/22 Page 4 of 7
Case 1:18-vv-01627-UNJ Document 72 Filed 03/07/22 Page 5 of 7
Case 1:18-vv-01627-UNJ Document 72 Filed 03/07/22 Page 6 of 7
Case 1:18-vv-01627-UNJ Document 72 Filed 03/07/22 Page 7 of 7
